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16                                 UNITED STATES DISTRICT COURT

17                            NORTHERN DISTRICT OF CALIFORNIA

18
     IN RE: MCKINSEY & CO., INC. NATIONAL       )   Case No. 3:21-md-02996-CRB (SK)
19   PRESCRIPTION OPIATE CONSULTANT             )
     LITIGATION                                 )   [Assigned to the Hon. Charles R. Breyer]
20                                              )
                                                )   STIPULATION AND [PROPOSED]
21                                              )   ORDER REGARDING BRIEFING
     This Document Relates to: ALL ACTIONS          SCHEDULE FOR PLAINTIFFS’ MOTION
22                                              )   TO LIFT THE DISCOVERY STAY
                                                )
23                                              )
                                                )
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                                                    STIPULATION REGARDING BRIEFING SCHEDULE FOR
                                                        PLAINTIFFS’ MOTION TO LIFT DISCOVERY STAY
                                                                         Case No. 3:21-md-02996-CRB
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                                                   STIPULATION
 1

 2               WHEREAS, on June 25, 2021, this Court issued Pretrial Order No. 1 that ordered

 3   “[p]ending further order of this Court, all outstanding discovery proceedings are stayed, and no

 4   further discovery shall be initiated.” (Dkt. 56 at ¶ 7).
 5
                 WHEREAS, on and before May 5, 2022, Plaintiffs met and conferred with Defendants
 6
     seeking agreement that the discovery stay should be lifted and discovery should proceed in this
 7
     matter. Defendants do not agree that discovery should proceed in this matter at this time;
 8
                 NOW, THEREFORE, the Parties, pursuant to Pretrial Order No. 7 (Dkt. 293), hereby agree
 9
10   and stipulate to the below briefing schedule and hearing date regarding lifting the discovery stay as

11   issued in Pretrial Order No. 1:
12                      Plaintiffs’ Motion to Lift the Discovery Stay to be filed:    May 10, 2022
13
                        Defendants’ Opposition to be filed: May 26, 2022
14
                        Plaintiffs’ Reply to be filed: June 2, 2022
15
                        Hearing date: July 15, 2022 at 9:00 a.m.
16

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18               IT IS SO STIPULATED.

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                                                                STIPULATION REGARDING BRIEFING SCHEDULE FOR
                                                                    PLAINTIFFS’ MOTION TO LIFT DISCOVERY STAY
                                                                                     Case No. 3:21-md-02996-CRB
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 1    Dated: May 9, 2022                            STROOCK & STROOCK & LAVAN LLP
                                                    DAVID M. CHEIFETZ
 2

 3                                                  By:                /s/David M. Cheifetz
                                                                         David M. Cheifetz
 4
                                                    Attorneys for Defendants
 5

 6

 7                                                  LIEFF CABRASER HEIMANN & BERNSTEIN,
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 8                                                  ELIZABETH J. CABRASER
 9
                                                    By:              /s/Elizabeth J. Cabraser
10                                                                      Elizabeth J. Cabraser
11
                                                     Lead Counsel for Plaintiffs
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16                                          [PROPOSED] ORDER
17               Pursuant to stipulation, and for good cause shown, IT IS SO ORDERED.
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19
     DATED: _________________
             May 10, 2022                                   ______________________________
20                                                          CHARLES R. BREYER
                                                            UNITED STATES DISTRICT JUDGE
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                                                            STIPULATION REGARDING BRIEFING SCHEDULE FOR
                                                                PLAINTIFFS’ MOTION TO LIFT DISCOVERY STAY
                                                                                   Case No. 3:21-md-02996-CRB
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